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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In the Matter of the Application of

JOSHUA SASON, Docket No.: 13 MC 0203
Petitioner,
DECLARATION OF
to Quash a Summons issued by DAVID DANOVITCH, ESQ.

YOSSEF KAHLON a/k/a JOSSEF KAHLON, and
TJ MANAGEMENT GROUP LLC,

Respondent.

DAVID DANOVITCH, pursuant to 28 U.S.C. §1746, declares as follows:

1, Iam a member of the firm of Robinson Brog Leinwand Greene Genovese &
Gluck P.C., counsel for petitioner Joshua Sason (“Sason’”). I submit this declaration in support
of Sason’s Petition to quash a Subpoena to Testify at a Deposition on June 26, 2013 at 9:30 a.m.
at 210 Fifth Avenue, Suite 401, New York, New York (the “Subpoena”)(attached to the Petition
as Exhibit A).

2. In a previous action commenced by the respondents against Sason in the Supreme
Court of the State of New York, County of Nassau, the respondents’ counsel attempted to serve
the summons and complaint on Sason at 83 Cherry Drive West, Plainview, NY 11803. I
informed respondents’ counsel at that time that Sason did not reside or conduct business at that

location. Despite that knowledge, respondents’ counsel who issued the Subpoena, the same

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counsel representing respondents in the Nassau County Action, attempted to serve the Subpoena
on Sason at the same Cherry Drive address.

3. This is not a proper address for service of process on Sason as set forth in the
accompanying memorandum of law,

4, I declare under the penalty of perjury under the laws of the United States of

America that the foregoing is true and correct. Executed on June 10, 2013.

[ Datid Danovitch

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